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                                                                   6   Attorneys for the Official Committee of
                                                                       Unsecured Creditors
                                                                   7

                                                                   8                             UNITED STATES BANKRUPTCY COURT

                                                                   9                              CENTRAL DISTRICT OF CALIFORNIA

                                                                  10                                       NORTHERN DIVISION

                                                                  11   In re:                                           Case No.: 19-bk-11573-MB
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                                                                        Chapter 11
                                                                  12   HVI CAT CANYON, INC.
                                                                                                                        AMENDED FIRST AND FINAL
                                        LOS ANGELES, CALIFORNIA




                                                                  13                                Debtor.             APPLICATION OF COLE SCHOTZ
                                           ATTORNEYS AT LAW




                                                                                                                        P.C. FOR ALLOWANCE AND
                                                                  14                                                    PAYMENT OF COMPENSATION AND
                                                                                                                        REIMBURSEMENT OF EXPENSES
                                                                  15                                                    FOR SERVICES RENDERED AS
                                                                                                                        CO-COUNSEL TO THE OFFICIAL
                                                                  16                                                    COMMITTEE OF UNSECURED
                                                                                                                        CREDITORS FOR THE PERIOD
                                                                  17                                                    AUGUST 27, 2019 THROUGH
                                                                                                                        SEPTEMBER 11, 2019;
                                                                  18                                                    DECLARATION OF MICHAEL D.
                                                                                                                        WARNER IN SUPPORT THEREOF
                                                                  19
                                                                                                                        [First Application Period: August 27, 2019
                                                                  20                                                    – September 11, 2019]

                                                                  21
                                                                                                                       Date:   January 30, 2020
                                                                  22                                                   Time:   10:00 a.m. [corrected time]
                                                                                                                       Place:  Courtroom 201
                                                                  23                                                           U.S. Bankruptcy Court
                                                                                                                               1415 State Street
                                                                  24                                                           Santa Barbara, CA 93101
                                                                                                                        Judge: Hon. Martin R. Barash
                                                                  25

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                                                                       60103/0001-18583401v1
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                                                                   1   TO THE HONORABLE MARTIN BARASH, UNITED STATES BANKRUPTCY JUDGE,

                                                                   2   THE DEBTOR, THE CHAPTER 11 TRUSTEE, THE OFFICE OF THE UNITED STATES

                                                                   3   TRUSTEE, AND ALL PARTIES REQUESTING SPECIAL NOTICE:

                                                                   4              Cole Schotz P.C. (“Cole Schotz” or the “Firm”), co-counsel to the Official Committee of

                                                                   5   Unsecured Creditors (the “Committee”) for the bankruptcy HVI Cat Canyon, Inc., the debtor herein

                                                                   6   (“Debtor” or “HVI Cat Canyon”), hereby submits its First and Final Fee Application of Cole Schotz

                                                                   7   P.C. for Allowance and Payment of Compensation and Reimbursement of Expenses for Services

                                                                   8   Rendered as Financial Advisor to the Official Committee of Unsecured Creditors for the Period

                                                                   9   August 27, 2019 through September 11, 2019 (the “Application”) for the period of August 27, 2019

                                                                  10   through September 11, 2019 (the “Employment Period”) pursuant to sections 328, 330 and 331 of

                                                                  11   the Bankruptcy Code.1
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12              Pursuant to this Application, Cole Schotz seeks (a) approval, on a final basis, fees and
                                        LOS ANGELES, CALIFORNIA




                                                                  13   expenses totaling $20,554.00 in for the period August 27, 2019 through September 11, 2019,
                                           ATTORNEYS AT LAW




                                                                  14   consisting of $20,480.50 in fees incurred and $73.50 in expenses incurred.

                                                                  15                                                               I.

                                                                  16                                           INTRODUCTORY STATEMENT

                                                                  17              Local Bankruptcy Rule 2016-1 sets forth certain requirements that a professional must satisfy

                                                                  18   in order to obtain an award for fees and costs. Additional standards to be employed in the review of

                                                                  19   fee applications are set forth in the United States Trustee’s Guidelines for Reviewing Applications

                                                                  20   for Compensation and Reimbursement of Expenses Filed Under 11 U.S.C. § 330 (the “Compensation

                                                                  21   Guidelines”). Finally, cases interpreting sections 330 and 331 of the Bankruptcy Code have required

                                                                  22   that courts consider the twelve (12) factors that the Ninth Circuit Court of Appeals articulated in

                                                                  23   Kerr v. Screen Extras Guild, 526 F.2d 67, 70 (9th Cir. 1975), cert. denied, 425 U.S. 951, 96 S.Ct.

                                                                  24   726 (1976). The Ninth Circuit’s primary method used to determine the reasonableness of fees is to

                                                                  25   calculate the “lodestar.” In re Charles Russell Buckridge, Jr., 367 B.R. 191, 201 (C.D. Cal. 2007).

                                                                  26   The lodestar is ascertained by multiplying the number of hours reasonably expended by a reasonable

                                                                  27

                                                                  28   1
                                                                           All references to sections of the “Bankruptcy Code” are to sections of 11 U.S.C. §§ 101-1532, as amended.

                                                                                                                                    1
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                                                                   1   hourly rate. Law Offices of David A. Boone v. Derham-Burk (In re Eliapo), 468 F.3d 592, 598

                                                                   2   (9th Cir. 2006). As set forth more fully herein, this Application complies with all statutory guidelines

                                                                   3   and Court-imposed requirements.

                                                                   4                                                      II.

                                                                   5        PRELIMINARY SUMMARY OF COMPENSATION DATA FOR THIS APPLICATION

                                                                   6   A.      ORDER RE EMPLOYMENT ENTERED: November 18, 2019, with employment as co-

                                                                   7           counsel to the Committee effective as of August 27, 2019 [Docket No. 522].

                                                                   8   B.      PERIOD OF EMPLOYMENT COVERED BY THIS APPLICATION: August 27, 2019

                                                                   9           through September 11, 2019

                                                                  10   C.      HOURS OF PROFESSIONAL TIME WHICH IS THE SUBJECT OF THIS

                                                                  11           APPLICATION: 39.70
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12   D.      FEES REQUESTED BY THIS APPLICATION: $20,480.50
                                        LOS ANGELES, CALIFORNIA




                                                                  13   E.      EXPENSES REQUESTED BY THIS APPLICATION: $73.50
                                           ATTORNEYS AT LAW




                                                                  14   F.      AMOUNT OF PREPETITION RETAINER RECEIVED: $0

                                                                  15   G.      AMOUNT OF FEES AND EXPENSES PREVIOUSLY AWARDED: $0

                                                                  16   H.      AMOUNT OF FEES AND EXPENSES PAID POST-PETITION: $0

                                                                  17

                                                                  18                                                      III.

                                                                  19             BRIEF NARRATIVE HISTORY AND PRESENT POSTURE OF THE CASE

                                                                  20           This Application covers the period August 27, 2019 through September 11, 2019. This is the

                                                                  21   Firm’s first and final application for fees and expenses in this case.

                                                                  22           1.       On July 25, 2019 (the “Petition Date”), the Debtor filed a voluntary petition for relief

                                                                  23   under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) in the United States

                                                                  24   Bankruptcy Court for the Southern District of New York (the “SDNY Court”), thereby commencing

                                                                  25   this chapter 11 case, bearing case number 19-12417 (MEW) (the “Case”).

                                                                  26           2.       On August 9, 2019, the United States Trustee for the Southern District of New York

                                                                  27   appointed the Committee to represent the interests of all unsecured creditors in this case pursuant to

                                                                  28   section 1102 of the Bankruptcy Code. The members appointed to the Committee are: (i) Brian

                                                                                                                           2
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                                                                   1   Corson, in his Individual Capacity; (ii) Escolle Tenants in Common; and (iii) Pacific Petroleum

                                                                   2   California, Inc. See Appointment of Official Committee of Unsecured Creditors’ Committee [Docket

                                                                   3   No. 34].

                                                                   4           3.       On August 27, 2019, the Committee held a meeting and, among other things, voted to

                                                                   5   retain Cole Schotz as its general bankruptcy co-counsel.

                                                                   6           4.       On August 28, 2019, the SDNY Court entered an Order Transferring Venue to United

                                                                   7   States Bankruptcy Court for the Northern District of Texas [Docket No. 106] (the “NDTX Court”),

                                                                   8   bearing case number 19-32857-hdh11.

                                                                   9           5.       On September 12, 2019, the NDTX Court entered an Order Granting Transfer of

                                                                  10   Venue, transferring the Case to this Court [Docket No. 184]. On September 16, 2019, the Case was

                                                                  11   transferred to this Court, and assigned case number 19-bk-11573-MB.
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                                                                  12           6.       On October 2, 2019, Cole Schotz filed its Application for an Order Authorizing and
                                        LOS ANGELES, CALIFORNIA




                                                                  13   Approving the Employment of Cole Schotz P.C. as Co-Counsel to the Official Committee of
                                           ATTORNEYS AT LAW




                                                                  14   Unsecured Creditors, Effective as of August 27, 2019 through September 11, 2019 [Docket No.

                                                                  15   338], which was approved by order entered by this Court on November 18, 2019 [Docket No. 522].

                                                                  16           7.       On October 7, 2019, the California State Lands Commission, California Department

                                                                  17   of Conservation Division of Oil, Gas, and Geothermal Resources, Santa Barbara County, the Air

                                                                  18   Pollution District, the Office of Harry E. Hagen, Treasurer-Tax Collector, and Buganko, LLC filed a

                                                                  19   Motion for Appointment of a Chapter 11 Trustee [Docket No. 356], which was approved by agreed

                                                                  20   order entered on October 16, 2019 [Docket No. 409].

                                                                  21           8.       On October 21, 2019, the Office of the United States Trustee filed its Notice of

                                                                  22   Appointment of Chapter 11 Trustee [Docket No. 418], appointing Michael A. McConnell to serve as

                                                                  23   the Chapter 11 Trustee (the “Chapter 11 Trustee”), which appointment was accepted by the

                                                                  24   Chapter 11 Trustee that same day [Docket No. 420].

                                                                  25

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                                                                   1                                                      IV.
                                                                   2                                NARRATIVE STATEMENT OF SERVICES
                                                                   3                                  RENDERED AND TIME EXPENDED

                                                                   4   A.       Services Performed and Time Expended During the Employment Period.

                                                                   5           Cole Schotz believes that its services have provided a benefit to the Committee and its
                                                                   6   constituents. Set forth below is an explanation of the services rendered by Cole Schotz’s
                                                                   7   professionals on the Committee’s behalf on a category-by-category basis. Given the duration of
                                                                   8
                                                                       Cole Schotz’s role in this matter, these categories are limited.
                                                                   9
                                                                               1.       Case Administration (26.0 hours; $15,362.50).
                                                                  10
                                                                               Under this project category, Cole Schotz worked on numerous tasks that included the first
                                                                  11
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                                                                       transfer of the cases from SDNY Court to the NDTX Court, which included reviewing various filings
                                                                  12
                                        LOS ANGELES, CALIFORNIA




                                                                  13   and participating in multiple conference calls on strategy and overall case objectives. In this regard,
                                           ATTORNEYS AT LAW




                                                                  14   Cole Schotz’s professionals were integral to the Committee’s efforts to plan for and address issues
                                                                  15   related the transfer of this case to the NDTX Court with the Committee and its professionals, both
                                                                  16
                                                                       before and after such transfer.
                                                                  17
                                                                               Cole Schotz professionals specifically expended time, inter alia, preparing for and attending the
                                                                  18
                                                                       initial hearing before the NDTX Court as well as reviewing and analyzing the Debtors’ Cash
                                                                  19

                                                                  20   Management Motion and the Committee’s Information Procedures Motion.                 Furthermore, Cole

                                                                  21   Schotz’s professionals reviewed multiple pleadings for local practice and procedure as well as prepared

                                                                  22   and filed pro hac vice motions and a notice of appearance in this case.
                                                                  23           2.       Fee/Employment Applications (15.9 hours; $5,118.00).
                                                                  24
                                                                               Included within this task code is time expended by Cole Schotz’s professionals performing
                                                                  25
                                                                       various functions directly related to compliance with the retention requirements of the Bankruptcy Code
                                                                  26
                                                                       and other pertinent rules. In this regard, Cole Schotz’s professionals not only prepared Cole Schotz’s
                                                                  27

                                                                  28   own retention application, but also reviewed, revised, and filed the retention application of its co-

                                                                                                                           4
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                                                                   1   counsel, the Pachulski Stang Ziehl & Jones LLP firm. Time was also expended addressing the impact
                                                                   2   of the transfer of the case from the NDTX Court to this Court.
                                                                   3
                                                                       B.       Detailed Listings of All Time that Cole Schotz Spent on the Matters for Which
                                                                   4            Compensation is Sought (Local Bankruptcy Rule 2016-1(a)(1)(E)).

                                                                   5           Exhibit A annexed to the declaration of Michael D. Warner (the “Warner Declaration”)

                                                                   6   contains Cole Schotz’s time detail by task code, professional, and the full time detail respectively

                                                                   7   during the Employment Period.

                                                                   8   C.       List of Expenses by Category (Local Bankruptcy Rule 2016-1(a)(1)(F)).

                                                                   9           Cole Schotz has billed $73.50 in expenses during the Employment Period which is outlined

                                                                  10   in Exhibit A to the Warner Declaration.

                                                                  11   D.       Rates (Local Bankruptcy Rule 2016-1(a)(1)(G)).
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                                                                  12           Cole Schotz’s professionals who rendered services to the Committee during the Employment
                                        LOS ANGELES, CALIFORNIA




                                                                  13   Period and their corresponding hourly rates are as follows:
                                           ATTORNEYS AT LAW




                                                                  14                                   Michael D. Warner (Member)       $840.00

                                                                  15                                   Benjamin L. Wallen (Associate) $350.00

                                                                  16                                   Kerri LaBrada (Paralegal)        $255.00

                                                                  17   E.      Professionals and Paraprofessionals

                                                                  18           The biographies of the attorneys who have worked on this matter and a description of their

                                                                  19   professional experience and education are attached to the Warner Declaration as Exhibit B. Cole

                                                                  20   Schotz has no understanding, agreement, or arrangement of any kind to divide with or pay to

                                                                  21   anyone any of the fees to be awarded in these proceedings, except to be shared among members of

                                                                  22   the Firm.

                                                                  23   F.      Notice of Application and Hearing

                                                                  24           A hearing date for interim fee applications is targeted for January 30, 2020. This Application

                                                                  25   will be served by NEF notice or by first class U.S. mail, as required, on (a) the Debtor; (b) the

                                                                  26   Chapter 11 Trustee, (c) the Committee, (d) the Office of the United States Trustee, and (e) parties

                                                                  27   that have filed with the Court requests for notice of all matters in accordance with Bankruptcy Rule

                                                                  28   2002(i).

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                                                                   1                                                   V.
                                                                   2                     THE FEES AND EXPENSES REQUESTED SHOULD BE
                                                                   3                        AWARDED BASED UPON APPLICABLE LAW
                                                                               The fees and expenses that Cole Schotz requests in this Application are an appropriate award
                                                                   4
                                                                       for Cole Schotz’s services in acting as co-counsel to the Committee.
                                                                   5

                                                                   6   A.       Factors In Evaluating Requests for Compensation

                                                                   7           Pursuant to section 330 of the Bankruptcy Code, the Court may award to a professional

                                                                   8   person reasonable compensation for actual, necessary services rendered, and reimbursement for

                                                                   9   actual, necessary expenses incurred. As set forth above, the fees for which the Firm requests

                                                                  10   compensation and the costs incurred for which the Firm requests reimbursement are for actual and

                                                                  11   necessary services rendered and costs incurred in the Case.
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                                                                  12           The professional services rendered by the Firm have required an expenditure of substantial
                                        LOS ANGELES, CALIFORNIA




                                                                  13   time and effort. During the Fee Period, 39.70 hours have been recorded by members of the Firm.
                                           ATTORNEYS AT LAW




                                                                  14           Moreover, time and labor devoted is only one of many pertinent factors in determining an

                                                                  15   award of fees and costs. Based on the skills brought to bear in the Case by the Firm and the results

                                                                  16   obtained and in light of the accepted lodestar approach, the Firm submits that the compensation

                                                                  17   requested herein is reasonable and appropriate.

                                                                  18           Cole Schotz submits that the professional services it rendered to the Committee during the

                                                                  19    Employment Period were reasonable, necessary, and expected to benefit the estate and its

                                                                  20    constituents at the time they were incurred. These services required a high level of professional

                                                                  21    competence and expertise.       Cole Schotz believes its services were performed efficiently and

                                                                  22    effectively and have led to a quick transition to a Chapter 11 trustee. The hourly rates Cole

                                                                  23    Schotz’s professionals bill are customary for the professional services they render in other matters

                                                                  24    and are fair and reasonable in the industry.

                                                                  25           The Application will be conspicuously posted on Epiq Corporate Restructuring’s website at:

                                                                  26    https://dm.epiq11.com/case/HVICat/dockets.

                                                                  27

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                                                                                                                            6
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                                                                   1   B.       The Lodestar Award Should be Calculated by Multiplying a Reasonable Hourly Rate
                                                                                by the Hours Expended
                                                                   2

                                                                   3            In determining the amount of allowable fees under section 330 (a) of the Bankruptcy Code,

                                                                   4   courts are to be guided by the same “general principles” as are to be applied in determining awards

                                                                   5   under the federal fee-shifting statutes, with “some accommodation to the peculiarities of bankruptcy

                                                                   6   matters.” In re Manoa Finance Co., Inc., 853 F.2d 687, 691 (9th Cir. 1988); see Meronk v. Arter &

                                                                   7   Hadden, LLP (In re Meronk), 249 B.R. 208, 213 (B.A.P. 9th Cir. 2000) (reiterating that Manoa

                                                                   8   Finance is the controlling authority and characterizing the factor test2 identified in Johnson v.

                                                                   9   Georgia Highway Express, Inc. 488 F.2d 714 (5th Cir. 1974) and Kerr v. Screen Extras Guild, Inc.

                                                                  10   526 F. 2d 67, 70 (9th Cir. 1975), cert. denied, 425 U.S. 951 (1976) as an “obsolete laundry list” now

                                                                  11   subsumed within more refined analyses).
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                                                                  12            The United States Supreme Court has evaluated the lodestar approach and endorses its usage.
                                        LOS ANGELES, CALIFORNIA




                                                                  13   In Hensley v. Eckerhart, 461 U.S. 424 (1983), a civil rights case, the Supreme Court held that while
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                                                                  14   the Johnson factors might be considered in setting fees, the lodestar amount subsumed many of those

                                                                  15   factors. Hensley at 434, n. 9.3 The following year, another civil rights case, Blum vs. Stenson, 465

                                                                  16   U.S. 886 (1984), provided the so-called lodestar calculation:
                                                                                         The initial estimate of a reasonable attorney’s fee is properly
                                                                  17                     calculated by multiplying the number of hours reasonably expended on
                                                                                         the litigation times a reasonable hourly rate . . . . Adjustments to that
                                                                  18                     fee then may be made as necessary in the particular case.
                                                                  19

                                                                  20   Blum at 888.
                                                                  21

                                                                  22

                                                                  23   2
                                                                         The original twelve Johnson/Kerr factors were: (1) time and labor required, (2) novelty and difficulty of the questions
                                                                       involved, (3) skill requisite to perform the legal services properly, (4) the preclusion of other employment by the attorney
                                                                  24   due to acceptance of the case, (5) the customary fee, (6) whether the fee is fixed or contingent,(7) time limitations
                                                                       imposed by the client or the circumstances, (8) amount involved and results obtained, (9) experience, reputation, and
                                                                  25   ability of the attorneys (10) the “undesirability” of the case, (11) nature and length of the professional relationship with
                                                                       client, and (12) awards in similar cases.
                                                                  26   3
                                                                         For discussion of the Johnson/Kerr subsumed factors, see Morales v. City of San Rafael, 96 F.3d 359, 364 n.9 (9th Cir.
                                                                       1996) (“among the subsumed factors … are: (1) the novelty and complexity of the issues, (2) the special skill and
                                                                  27   experience of counsel, (3) the quality of representation, and (4) the results obtained”); Davis v. City & County of San
                                                                       Francisco, 976 F.2d 1536, 1549 (9th Cir. 1992), vacated in part on other grounds, 984 F.2d 345 (9th Cir. 1993)
                                                                  28   (extending City of Burlington v. Dague, 505 U.S. 557, 567 (1992), which held that sixth factor “whether the fee is fixed
                                                                       or contingent, may not be considered in the lodestar calculation”).
                                                                                                                                    7
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                                                                   1           Then in 1986, the Supreme Court more explicitly indicated that the factors relevant to

                                                                   2   determining fees should be applied using the lodestar approach, rather than an ad hoc approach.

                                                                   3   While holding that the attorney’s fee provision of the Clean Air Act, 42 U.S.C. § 7401 et seq.,

                                                                   4   should be interpreted like that of the Civil Rights Act, the Supreme Court expressly rejected the ad

                                                                   5   hoc application of the factors set forth in Johnson and thus Kerr, stating that “the lodestar figure

                                                                   6   includes most, if not all, of the relevant factors constituting a ‘reasonable’ attorney’s fee . . .. ”

                                                                   7   Pennsylvania v. Del. Valley Citizens’ Council for Clean Air, 478 U.S. 546, 563-66 (1986); see also

                                                                   8   Blanchard v. Bergeron, 489 U.S. 87, 94 (1989) (“we have said repeatedly that the initial estimate of

                                                                   9   a reasonable attorney’s fee is properly calculated by multiplying the number of hours reasonably

                                                                  10   expended on the litigation times a reasonable hourly rate”).

                                                                  11           While the lodestar approach is the primary basis for determining fee awards under the federal
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                                                                  12   fee-shifting statutes and Bankruptcy Code, some of the Johnson/Kerr factors, previously applied in
                                        LOS ANGELES, CALIFORNIA




                                                                  13   an ad hoc fashion, can still apply in calculating the appropriate hourly rate to use under the lodestar
                                           ATTORNEYS AT LAW




                                                                  14   approach. Buckridge, 367 B.R. 191, 201 (C.D. Cal. 2007) (“a court is permitted to adjust the lodestar

                                                                  15   up or down using a multiplier based on the criteria listed in §330 and its consideration of the Kerr

                                                                  16   factors not subsumed within the initial calculations of the lodestar”); Dang v. Cross, 422 F.3d 800,

                                                                  17   812 (9th Cir. 2005) (court may “adjust the lodestar amount after considering other factors that bear

                                                                  18   on the reasonableness of the fee”); Unsecured Creditors’ Comm. v. Puget Sound Plywood, Inc., 924

                                                                  19   F.2d 955, 960 (9th Cir. 1991) (“Although Manoa suggests that starting with the ‘lodestar’ is

                                                                  20   customary, it does not mandate such an approach in all cases.… Fee shifting cases are persuasive,

                                                                  21   but due to the uniqueness of bankruptcy proceedings, they are not controlling”).

                                                                  22

                                                                  23                                                   VI.

                                                                  24                                            CONCLUSION

                                                                  25           This is Cole Schotz’s first and final request for compensation and reimbursement of

                                                                  26   expenses. Cole Schotz believes that the services rendered for which compensation is sought in this

                                                                  27   Application have been beneficial to the estate, that the costs incurred have been necessary and

                                                                  28

                                                                                                                             8
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   SUBMITTED BY:

   PACHULSKI STANG ZIEHL & JONES LLP

   By: /s/ Maxim B. Litvak________________
          Maxim B. Litvak

   Attorneys for Official Committee of Unsecured
   Creditors




                                                   9
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                                                                   1                                 DECLARATION OF MICHAEL D. WARNER
                                                                   2
                                                                                I, Michael D. Warner, declare as follows:
                                                                   3
                                                                                1.       I am a Member of the law firm of Cole Schotz P.C. (“Cole Schotz”), which maintains
                                                                   4
                                                                       offices for the practice of law at 301 Commerce Street, Suite 1700, Fort Worth, Texas 76102, with
                                                                   5
                                                                       other offices in New Jersey, New York, Delaware, Maryland, Florida and Dallas, Texas
                                                                   6
                                                                                2.       I have personal knowledge of the facts set forth in the First and Final Fee
                                                                   7
                                                                       Application of Cole Schotz P.C. for Allowance and Payment of Compensation and Reimbursement of
                                                                   8
                                                                       Expenses for Services Rendered as Financial Advisor to the Official Committee of Unsecured
                                                                   9
                                                                       Creditors for the Period August 27, 2019 through September 11, 2019 (the “Application”). By the
                                                                  10
                                                                       Application, Cole Schotz seeks final allowance and payment for the services it rendered to the
                                                                  11
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                       Committee4 during the Employment Period.                    If called upon as a witness, I could and would
                                                                  12
                                                                       competently testify to all of the facts stated in this declaration.
                                        LOS ANGELES, CALIFORNIA




                                                                  13
                                           ATTORNEYS AT LAW




                                                                                3.       I have personally reviewed the information contained in the Application and in the
                                                                  14
                                                                       exhibits to my declaration. Attached hereto as Exhibit A is true and correct copies of Cole Schotz’s
                                                                  15
                                                                       time detail in this matter related to the Employment Period.
                                                                  16
                                                                                4.       Cole Schotz has billed $73.50 on account of expenses, which were billed at the actual
                                                                  17
                                                                       rate and outlined in Exhibit A attached hereto.
                                                                  18
                                                                                5.       The biographies of the attorneys who have worked on this matter and a description of
                                                                  19
                                                                       their professional experience and education are attached hereto as Exhibit B.
                                                                  20
                                                                                6.       I believe the contents of the Application and the exhibits to my declaration to be true
                                                                  21
                                                                       and correct.
                                                                  22
                                                                                7.       Local Bankruptcy Rule 2016-1(a)(1)(K) Compliance:                         I have reviewed Local
                                                                  23
                                                                       Bankruptcy Rule 2016-1. The Application complies with Local Bankruptcy Rule 2016-1.
                                                                  24

                                                                  25

                                                                  26

                                                                  27

                                                                  28   4
                                                                        To the extent not defined in this declaration, all defined terms shall have the meanings ascribed to them in the
                                                                       Application.
                                                                                                                                   10
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                            EXHIBIT B
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                              Michael D.
                              Warner
                              Member                                      TEL: 817-810-5265
                                                                          MOBILE: 817-832-5566
                                                                          FAX: 817-977-1611
                                                                          mwarner@coleschotz.com




   Michael Warner has a nationwide corporate restructuring practice which focuses on representing clients
   in reorganization cases, mergers and acquisitions, and out of court workouts. His education and
   experience as an accountant offers clients invaluable counsel in today's highly complex business
   environment. Mr. Warner’s experience in multiple fields provides his clients with vital advice and
   guidance to assist in both legal and business issues. Mr. Warner approaches client representation with
   business sense and an eye toward resolution and results rather than prolonged disputes and litigation.
   Mr. Warner has significant experience in the negotiation and structuring of complex business
   transactions. Mr. Warner has litigated significant issues in Bankruptcy Courts through the Country. Mr.
   Warner resides in Texas, and maintains offices in the Firm’s Texas offices (Fort Worth, Dallas and
   Houston).

   In Mr. Warner’s 34 years of practice in the restructuring field he has and continues to regularly
   represent all constituents in insolvency matters, including debtors, secured and unsecured creditors,
   official creditors committees, trustees, bond and debt agents, and equity holders. Mr. Warner has
   unique skills and experiences in real estate restructuring transactions, debt financing and modification
   transactions, both in and out of court, the financial services industry, the oil and gas industry, the food
   industry and the steel industry.


   Mr. Warner has also been appointed Examiner by Bankruptcy Courts and is currently the Liquidating
   Trustee under the Confirmed Plan of Liquidation for University General Health Systems, Inc. (Houston,
   TX).


   A sampling of the matters Mr. Warner has recently handled and is currently handling, include:


   On behalf of Debtors: Mr. Warner was employed as lead counsel, replacing then existing Debtor’s
   counsel, before the Bankruptcy Court, for a nationally flagged Fort Worth hotel, when the Debtor was
   about to lose its property to foreclosure by its secured creditor, owed in excess of $45 Million. Mr.
   Warner commenced litigation and undertook efforts to permit the sale of the hotel, which ultimately
   resulted in a 100% distribution to all creditors and a significant return to equity.


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   In a recent Debtor matter, Mr. Warner was lead insolvency counsel to alleged Debtors, in two
   companion involuntary cases, in the Bankruptcy Court, Northern District of Texas, in which in excess of
   7 days of trial time was conducted by the Court.


   On behalf of Creditors Committees: Mr. Warner has been lead counsel for multiple Official Creditors
   Committees throughout the Country in many diverse industries. Such cases have and currently include:

          Neighbors Legacy Health - Houston, TX (Emergency Room Operations)
          Westmoreland Coal - Houston, TX (Coal Producer) [Co-Counsel]
          SeaDrill Limited – Houston, TX (Oil/Gas Drilling) [Co-counsel]
          Energy and Exploration Partners - Fort Worth, TX (oil and gas production) [Co-Counsel]
          Ignite Restaurant – Houston, TX (Restaurant Chain) [Co-Counsel]
          Forest Park Medical Center at Fort Worth - Fort Worth, TX (Hospital/Medical) [Co-Counsel]
          Monitor Company - Wilmington, DE (financial services company)
          Brown Publishing - New York, NY (publishing and newspapers)
          Delphi Corp. - New York, NY (auto parts manufacturer) [Co-Counsel]
          Patriot Coal – New York, NY (coal mining operations) [conflicts counsel]
          First Magnus Financial Corp. - Tucson, AZ (mortgage lender)
          DLH Master Land Holding, LLC - Dallas, TX (commercial real estate developer)
          OneTravel Holdings, Inc. - San Antonio, TX (internet-based travel business)
          Creative Foods, LLC - Jonesboro, AR (manufacturer of private label foods)
          Divine, Inc. - Boston, MA (software and information technology service provider)
          Orion Refining, Corp. - Wilmington, DE (independent oil refiner)
          Georgetown Steel Corp. - Columbia, SC (wire rod steel producer)
          Tokheim Corp. - Wilmington, DE (gas pump equipment manufacturer)
          Bayou Steel, Inc. - Dallas, TX (steel bar manufacturer)
          Lucerne Products, Inc. - Akron, OH (electric switch manufacturer)
          Jayhawk Acceptance Corp. - Dallas, TX (sub-prime auto lender)
          Hiuka Steel Corp. - San Bernardino, CA (scrap steel consolidator)
          Software, Etc. - Dallas, TX (owner/operator of 700+ retail software locations) [counsel to Official
          Equity Committee]

   On behalf of Members of Creditors Committees: Mr. Warner is regularly retained to represent the
   interests of clients as members while serving on Official Creditors Committees and he sits side by side
   with the Committee-member business representative of the client in all Committee matters. Recently,
   Mr. Warner was counsel for members of Official Creditors Committees in these nationally recognized
   cases:

          Vanguard Natural Resources – Houston, TX (Energy)
          AMR Corporation (American Airlines) - New York, NY (Legacy airline carrier)

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          AMR Corporation (American Airlines) - New York, NY (Legacy airline carrier)
          Northwest Airlines - New York, NY (Legacy airline carrier)
          US Airways - Alexandria, VA (Airline carrier)
          Bethlehem Steel - New York, NY (steel manufacturer)

   On behalf of Financial Institutions, Commercial Lenders and Debt Agents: Mr. Warner regularly
   represents financial institutions, commercial lenders, equipment lessors, and agents representing
   lenders in various capacities. These matters generally focus on issues of valuation of collateral for debt
   obligations, negotiations and litigation regarding plans of reorganization, and recovery of collateral. By
   way of example Mr. Warner was counsel in the following recent matters:

          Linn Energy – Houston, TX (E&P Company) co-counsel to the Agent for an unsecured debt in
          excess of $3 Billion.
          Energy 21 – Houston, TX (E&P Company) co-counsel to the Agent for an unsecured debt in
          excess of $1 Billion.
          FRE Real Estate – Fort Worth, TX (Owner/operating of 700,000 square foot office towers) –
          represented the Agent for a secured $60 Million debt instrument held by various hedge funds –
          cash collateral use litigation and relief from stay litigation.
          Triple T Coil Tubing – Laredo, TX (Oil & Gas Services – coil tubing and pumping equipment) –
          representing the lessor of the Debtors’ equipment, in lease termination litigation.

   On behalf of Hedge Funds: Mr. Warner frequently represents nationally recognized hedge funds holding
   secured and unsecured debt, including bond and note debt, in their capacities as members of steering
   committees of such debt instruments, and as individual holders of the debt, at times taking positions
   distinct from that of other holders and, where appropriate, positions that may be in contrast to the
   position of an Agent that might otherwise represent all of the holders of the obligation. Such matters
   span many jurisdictions throughout the Country, and include addressing debtor in possession financing,
   cash collateral use, plan of reorganization and liquidation negotiations, asset liquidations,
   post-confirmation avoidance action litigation and fiduciary breach litigation. By way of example Mr.
   Warner is or was involved in the following matters:

          Lake At Las Vegas – Las Vegas, NV (real estate developer) – representing the largest secured
          debt holder in pre and post confirmation litigation, including the $450 Million fraudulent transfer
          litigation in the United States District Court, District of Nevada.
          Yellowstone Mountain Club – Billings, MT (resort developer) – represented various hedge funds
          holding in excess of $31 Million in secured debt.
          Utah 7000, LLC (a/k/a Promontory Mountain Cub) – Salt Lake City, UT (resort developer) -
          represented various hedge funds holding approximately $90 Million in secured debt

   Other Significant Matters: In the last few years Mr. has been appointed as Examiner by the Bankruptcy
   Court in the following matters:


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          Stone Energy, Houston, TX (E&P Company) – represented all Senior Management, and the
          Chairman of the Board of Directors, in connection with the Chapter 11 case, including
          negotiations of severance, benefits and compensation issues.
          Illinois Power Generating Company (GENCO), Houston, TX (Energy) – represented the Chief
          Restructuring Officer in connection with the Chapter 11 case, including compensation and
          retention issues.
          ASARCO, Corpus Christi, TX (worldwide copper mine operations) – Mr. Warner was appointed
          to address the implementation of the Bankruptcy Court’s order approving the sale procedures for
          all of the estates’ assets, which was ultimately a $2+ Billion transaction. Due to significant
          disputes among various parties, including the Debtors, the Committee, the environmental
          claimants, the asbestos claimants, and the Debtors’ equity holder, the Court determined that the
          Examiner would oversee the implementation of the Court’s bid procedures, to assure that all
          interested parties were provided full access and ability to bid on substantially all of the estates’
          assets.
          Crayhon, Reno, NV, (drug developer) – Mr. Warner’s appointment required the use of his
          accounting skills to investigate various alleged wrongful insider transactions.

   A native of Los Angeles, California, Mr. Warner graduated from California State University Northridge
   (B.S., accounting, 1981) and Southwestern University School of Law (J.D., 1984). He is licensed to
   practice law in California and Texas. Mr. Warner lives on a working horse and cattle ranch west of Fort
   Worth, Texas with his wife. Mr. Warner is a member of the Executive Committee of the Board of
   Directors, and the Audit and Long Range Planning Committees of the Fort Worth Stock Show and
   Rodeo.




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                             Benjamin L.
                             Wallen
                             Associate                                   TEL: 817-810-5264
                                                                         MOBILE: 817-980-7535
                                                                         FAX: 817-977-5273
                                                                         bwallen@coleschotz.com




   Ben Wallen is an associate in the firm’s Bankruptcy and Corporate Restructuring Department and is
   based in the Fort Worth, Texas office. Ben is also a certified mediator.


   Ben graduated from the University of Oklahoma in 2013 and from the University of Houston Law Center
   in 2016. While in law school, he was a judicial intern for the Honorable David R. Jones, U.S. Bankruptcy
   Court for the Southern District of Texas and for the Honorable Harold R. DeMoss Jr., U.S. Court of
   Appeals for the Fifth Circuit. Ben also worked for the Mexican government as a legal intern for la
   Comisión Nacional de Hidrocarburos. In addition, Ben was a research assistant to Professor Jim
   Hawkins and served as the Chief Articles Editor for the Houston Business and Tax Law Journal, where
   he currently serves on the board of trustees. Shortly before graduating law school, Ben was awarded
   the American Bankruptcy Institute Medal of Excellence. In his free time, Ben is an avid Dallas Cowboys
   fan and enjoys exploring Fort Worth.




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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                                    10100 Santa Monica Boulevard, 13th Floor, Los Angeles, CA 90067

A true and correct copy of the foregoing document entitled (specify): AMENDED FIRST AND FINAL APPLICATION OF
COLE SCHOTZ P.C. FOR ALLOWANCE AND PAYMENT OF COMPENSATION AND REIMBURSEMENT OF
EXPENSES FOR SERVICES RENDERED AS CO-COUNSEL TO THE OFFICIAL COMMITTEE OF UNSECURED
CREDITORS FOR THE PERIOD AUGUST 27, 2019 THROUGH SEPTEMBER 11, 2019; DECLARATION OF MICHAEL
D. WARNER IN SUPPORT THEREOF will be served or was served (a) on the judge in chambers in the form and manner
required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
December 20, 2019, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:
                                                                          Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) December 20, 2019, I served the following persons and/or entities at the last known addresses in this
bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United
States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that
mailing to the judge will be completed no later than 24 hours after the document is filed.

                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) December 20, 2019, I
served the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in
writing to such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a
declaration that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the
document is filed.

 VIA OVERNIGHT DELIVERY                                                    VIA EMAIL
 Honorable Martin R. Barash                                                Brian Corson: brian@hubmac.com
 U.S. Bankruptcy Court                                                     Vincent Martinez: vmartinez@twitchellandrice.com
 21041 Burbank Boulevard, Suite 342 / Courtroom 303                        John Hochleutner: john@ppcinc.biz
 Woodland Hills, CA 91367-6603

                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

  December 20, 2019              Nancy H. Brown                                                  /s/ Nancy H. Brown
  Date                           Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


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    1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF)

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         carissa@beallandburkhardt.com                                                      1373@ecf.pacerpro.com
        Alicia Clough aclough@loeb.com,                                                   Jeffrey N Pomerantz jpomerantz@pszjlaw.com
         mnielson@loeb.com,ladocket@loeb.com                                               Todd C. Ringstad becky@ringstadlaw.com,
        Marc S Cohen mscohen@loeb.com, klyles@loeb.com                                     arlene@ringstadlaw.com
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         debra.blondheim@mhllp.com;Syreeta.shoals@mhllp.com                                Sonia Singh ssingh@DanningGill.com,
        Karl J Fingerhood karl.fingerhood@usdoj.gov,                                       danninggill@gmail.com,ssingh@ecf.inforuptcy.com
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        Don Fisher dfisher@ptwww.com, tblack@ptwww.com                                    Ross Spence ross@snowspencelaw.com,
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        Jeannie Kim jkim@friedmanspring.com                                                scuevas@calattys.com
        Maxim B Litvak mlitvak@pszjlaw.com                                                Richard Lee Wynne richard.wynne@hoganlovells.com,
        Michael Authur McConnell                                                           tracy.southwell@hoganlovells.com;cindy.mitchell@hoganlo
         (TR) Michael.mcconnell@kellyhart.com                                               vells.com
        Brian M Metcalf bmetcalf@omm.com                                                  Emily Young pacerteam@gardencitygroup.com,
        David L Osias dosias@allenmatkins.com,                                             rjacobs@ecf.epiqsystems.com;ECFInbox@epiqsystems.com
         bcrfilings@allenmatkins.com,kdemorest@allenmatkins.com,                           Aaron E de Leest adeleest@DanningGill.com,
         csandoval@allenmatkins.com                                                         danninggill@gmail.com;adeleest@ecf.inforuptcy.com

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        Elizabeth Mary Guffy eguffy@lockelord.com
        Alan Harry Katz akatz@lockelord.com
        Jarrod Barclay Martin jarrod.martin@mhllp.com, lara.coleman@mhllp.com
        Kevin D. McCullough kdm@romclaw.com, rdecorte@romclaw.com
        Shannon Smith Thomas sthomas@romclaw.com, rdecorte@romclaw.com
        United States Trustee ustpregion06.da.ecf@usdoj.gov
        Eric M. Van Horn ericvanhorn@spencerfane.com




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2. SERVED VIA U.S. FIRST CLASS MAIL

 ANN JENNY SCHUPP                                 BRUCE S. GELBER                                    CALIFORNIA DEPT. OF TOXIC SUBSTANCE
 C/O M H WHITTIER CORP.                           DEPUTY ASST ATTORNEY GENERAL                       CONTROL
 1600 HUNTINGTON DRIVE                            ENVIRONMENT & NATURAL RESOURCES DIV.               (BERKLEY REGIONAL OFFICE)
 SOUTH PASADENA, CA 91030                         950 PENNSYLVANIA AVE                               700 HEINZ AVENUE SUITE 200
                                                  WASHINGTON, DC 20530                               BERKELEY, CA 94710‐2721


 CALIFORNIA FRANCHISE TAX BOARD                   CALIFORNIA OSHA                                    CALIFORNIA STATE CONTROLLER
 PO BOX 942857                                    1515 CLAY STREET, SUITE 1901                       BETTY T. YEE
 SACRAMENTO, CA 94257‐0500                        OAKLAND, CA 94612                                  TAX ADMINISTRATION SECTION
                                                                                                     PO BOX 942850
                                                                                                     SACRAMENTO, CA 94250‐5880

 CHARLES C. ALBRIGHT TRUSTEE                      DIANE T. WALKER                                    FIRST AMERICAN TITLE INS. COMPANY
 729 WEST 16TH STREET #B8                         748 OCEANVILLE ROAD                                TRUSTEE FOR UBS AG LONDON BRANCH
 COSTA MESA, CA 92627                             STONINGTON, ME 04681‐9714                          4380 LA JOLLA VILLAGE DRIVE, STE 110
                                                                                                     SAN DIEGO, CA 92122

 HVI CAT CANYON, INC.                             INTERNAL REVENUE SERVICE                           INTERNAL REVENUE SERVICE
 P.O. BOX 5489                                    CENTRALIZED INSOLVENCY OPERATIONS                  (SMALL BUSINESS/SELF‐EMPLOYMENT DIV)
 SANTA MARIA, CA 93456                            PO BOX 7346                                        5000 ELLIN ROAD
                                                  PHILADELPHIA, PA 19101‐7346                        LANHAM, MD 20706

 HVI CAT CANYON, INC.                             NORTHERN CALIFORNIA COLLECTION                     SANTA BARBARA COUNTY ‐APCD
 C/O CAPITOL CORPORATE SERVICES, INC.             SERVICE, INC.                                      AERON ARLIN GENET
 36 S. 18TH AVENUE, SUITE D                       700 LEISURE LANE                                   260 NORTH SAN ANTONIO RD
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